
Reese, J.
delivered the opinion of the court.
The declaration in this case, states the party plaintiff, as Rachel Cannon, administratrix of Newton Cannon, who sues for the use of Joseph Pond. The action is covenant, and the declaration states the cause of action to have arisen upon the breaches of the condition of a bond which the defendants entered into, signed and sealed, and in which they “acknowledge *335themselves held and firmly, bound unto the said Newton Cannon, in his life time, and his succesors in office,” &amp;c. The defendants..demurred to the declaration upon the ground^ that the bond sued on, was the official bond of a'Constable, made payable to the Governor of the State for the time being, and his successors in office, and that the legal title to the bond vested in the officer, and not in the person of the incumbent; and, therefore, that the personal representative of Newton Cannon has no interest in the bond whatever, nor any right or title to sue. Oyer is not craved of the bond, and, therefore, we can know no more of it, than the plaintiff has seen proper to set forth in the declaration. In that, the bond is not described as taken to the Governor of the State of Tennessee, or to Newton Cannon, in that character. It is taken to Newton Cannon-and to his successors in office; but it does not appear what office he filled, or of what office succession was predicated. This bond was not taken, therefore, in terms, to the office of Governor.
We do not say, that upon just such a bond, as is set forth in the declaration in this case, the successors of Newton Cannon, in the office of Governor, might not, by proper averments, maintain an action., Upon the face of this declaration, however, the bond is not set out in terms, or by averment, as to show that it is a good statutory office bond; and, therefore, it did not, and could not vest in the personal representative of Newton Cannon, whose name is used as plaintiff in this action.
The demurrer must, therefore, be overruled, the judgment of the Circuit Court be reversed, and the case be-remanded for further proceedings.
